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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


DAMIEN GUEDES                                    :
         Civil Rights Defense Firm, P.C.         :
         646 Lenape Road                         :
         Bechtelsville, PA 19505                 :
                                                 :
FIREARMS POLICY COALITION, INC.,                 :
              4212 North Freeway Boulevard       :   Civil Action No. 1:18-cv-2988
              Sacramento, CA 95834               :
                                                 :
                                                 :
FIREARMS POLICY FOUNDATION                       :
              4212 North Freeway Boulevard       :
              Sacramento, CA 95834               :
                                                 :
              and                                :
                                                 :
MADISON SOCIETY FOUNDATION, INC.                 :
              210 South Sierra Avenue, Suite 204 :
              Oakdale, CA 95361                  :
                                                 :
                             Plaintiffs          :
              v.                                 :
                                                 :
BUREAU OF ALCOHOL, TOBACCO,                      :
FIREARMS AND EXPLOSIVES, an agency               :
of the Department of Justice                     :
              99 New York Avenue, N.E.,          :
              Washington, DC 20226               :
                                                 :
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MATTHEW WHITAKER, in his official                   :
 capacity as Acting Attorney General                :
 of the United States                               :
             United States Department of Justice    :
             950 Pennsylvania Avenue, NW            :
             Washington, DC 20530                   :
                                                    :
THOMAS E. BRANDON, Acting Director                  :
Bureau of Alcohol, Tobacco, Firearms, and           :
Explosives                                          :
              99 New York Avenue, N.E.,             :
              Washington, DC 20226                  :
                                                    :
UNITED STATES OF AMERICA,                           :
          United States Attorney’s Office           :
          555 4th Street, NW                        :
          Washington, DC 20530                      :
                                                    :
                             Defendants             :

                NOTICE OF VOLUNTARY DISMISSAL OF PLAINTIFF
                     FIREARMS POLICY COALITION, INC.

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), (B), plaintiff Firearms Policy Coalition, Inc.,

only, voluntarily dismisses all counts without prejudice. Plaintiffs Guedes, Firearms Policy

Foundation, and Madison Society Foundation, Inc. remain in this action.

                                               Respectfully Submitted,

                                               ________________________
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                                               Attorneys for Plaintiffs
          Case 1:18-cv-02988-DLF Document 8 Filed 12/26/18 Page 3 of 3



                               CERTIFICATE OF SERVICE

       I hereby certify that on this 26th day of December 2018, I served the foregoing on

Department of Justice attorney, Eric Soskin, via email at eric.soskin@usdoj.gov.




                                               Respectfully Submitted,



                                               ________________________
                                               Adam Kraut, Esq.
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                                               Attorney for Plaintiffs
